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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


DEBBIE PLUCKER,                                      4:12-CV-04075-KES

                   Plaintiff,

      vs.                                      ORDER DENYING PLAINTIFF'S
                                              MOTION FOR ATTORNEY'S FEES
UNITED FIRE & CASUALTY COMPANY,

                   Defendant.



      Plaintiff, Debbie Plucker, brought suit against defendant, United Fire &

Casualty Company, for breach of contract and bad faith. A jury trial was held,

and the jury found in favor of Plucker on the breach of contract claim and

United Fire on the bad faith claim. Plucker now moves for attorney fees under

SDCL 58-12-3. The court denies the motion.

                                  BACKGROUND

      Plucker purchased a car insurance policy from United Fire & Casualty

Company. Trial Exhibit 1. The policy included $5000 in medical payments

coverage for Plucker if she was injured in an accident. Id. at UF004921. While

Plucker was driving on Interstate 90, a semi-truck trailer on the other side of

the median and traveling in the opposite direction lost a tire. The tire and its

rim crossed the median, bounced off of another tractor trailer, and hit the front
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of Plucker’s car. As a result of the accident, Plucker started treating with

Dr. Lanpher, her chiropractor.

      Under the terms of the insurance contract, Plucker needed to grant

United Fire access to her medical records before she could receive payment for

her medical bills. Typically, United Fire got an insured’s medical records by

having the insured sign a medical release authorizing United Fire to have

access to the records. After the accident, United Fire sent Plucker a copy of its

standard medical release, but Plucker felt uncomfortable signing the form as

written. To alleviate her concerns, Plucker redacted the parts of the medical

release that authorized the release of medical records related to prior alcohol

use, drug abuse, and psychiatric treatment. Plucker also added language

limiting the validity of the release. United Fire did not accept the altered release

and told Plucker no medical provider would accept the changes she made to

the release.

      As an alternative to signing an unaltered medical release, United Fire

told Plucker she could submit her own medical records. Plucker attempted to

retrieve her records from Dr. Lanpher, but she was unable to get them. Plucker

discussed with her insurance agent the problems she was having with United

Fire. The insurance agent wrote to United Fire asking, “Why are we treating our

own insured like the enemy?” Trial Exhibit 9.

      After Plucker hired a lawyer, her lawyer wrote to United Fire three times

and asked it to reconsider its decision to not pay Dr. Lanpher’s bills. United

Fire still did not pay the claim. After Plucker filed her lawsuit, she signed a


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medical authorization in essentially the same form as that provided by United

Fire and authorized the release of her medical records to her attorneys. After

her attorneys received and disclosed the medical records to United Fire, United

Fire paid the claim in full. When the case went to trial, the jury awarded

Plucker $100 in damages on her breach of contract claim. It found in favor of

United Fire on the bad faith claim.

      Plucker now seeks $143,660.48 as reasonable attorney fees and sales tax

under SDCL 58-12-3. Plucker argues United Fire acted unreasonably by (1) not

accepting Plucker’s altered medical release, (2) not sending Dr. Lanpher the

altered medical release, (3) telling Plucker she could submit her own medical

records, and (4) not otherwise helping Plucker obtain the medical records.

Docket 134 at 1-3.

                               LEGAL STANDARD

      The court may award Plucker attorney fees if United Fire “refused to pay

the full amount of [Plucker’s] loss, and that such refusal [was] vexatious or

without reasonable cause . . . .” SDCL 58-12-3. The statute allows for the

collection of “reasonable attorney’s fees necessarily incurred in defending or

enforcing a valid insurance contract right.” All Nation Ins. Co. v. Brown, 344

N.W.2d 493, 494 (S.D. 1984) (citing Fla. Rock, Etc. v. Cont’l Ins. Co., 399 So. 2d

122 (Fla. 1981)). The purpose of the statute is to discourage insurance

companies from contesting valid claims. Id.




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                                  DISCUSSION

      To prevail on her motion for attorney’s fees, Plucker must prove three

elements: (1) United Fire refused to pay the full amount of Plucker’s loss; (2)

United Fire’s refusal to pay Plucker’s claims was vexatious or without

reasonable cause; and (3) Plucker’s legal fees are a reasonable charge for the

“work performed to enforce the insurance contract claim.” Biegler v. Am. Family

Mut. Ins. Co., 621 N.W.2d 592, 606 (S.D. 2001) (citing Isaac v. State Farm Mut.

Auto. Ins. Co., 522 N.W.2d 752 (S.D. 1994); Brooks v. Milbank Ins. Co., 605

N.W.2d 173 (S.D. 2000)). Here, Plucker has failed to prove the second

element—that United Fire’s refusal to pay Plucker’s claims was vexatious or

without reasonable cause.

      During trial, both parties agreed that United Fire had a right to obtain

Plucker’s medical records before paying her medical bills. This is a standard

practice in the insurance industry. The South Dakota Supreme Court has

explained that if there is a reasonable basis for not paying an insured’s claim,

the insurance company is not in violation of SDCL 58-12-3. See Howie v.

Pennington Cty, 563 N.W.2d 116, 118-19 (S.D. 1997). Here, United Fire

attempted to process Plucker’s claim by having her sign a medical

authorization that would give United Fire access to her medical records. As an

alternative to signing the medical authorization, United Fire told Plucker she

could submit her medical records directly to United Fire. Plucker took neither

course of action until she brought suit. Because United Fire had a right to

review Plucker’s medical records, United Fire did not act in violation of SDCL


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58-12-3 by refusing to pay Plucker’s claim until it had copies of Plucker’s

medical records.

      Plucker primarily relies on five South Dakota Supreme Court cases1 to

support her motion for attorney’s fees; however, each case is distinguishable

because United Fire’s conduct did not rise to the same level of culpability as

the defendants in the other cases. The first case Plucker cites is Lewis v. State

Department of Transportation, 667 N.W.2d 283 (S.D. 2003). In Lewis, the South

Dakota Department of Transportation denied plaintiff’s medical claim for the

replacement of his veneers after a metal box struck him in the face. Id. at 285,

291. The South Dakota Supreme Court reasoned that the denial was without

reasonable cause because the claim administrator gave “inconsistent

justifications” for denying the plaintiff’s claim and because the administrator

did not provide a medical opinion to contradict the plaintiff’s doctor. Id. at 291-

292. Here, United Fire’s response and actions remained consistent throughout

the handling of Plucker’s claim. United Fire repeatedly explained that it needed

to receive Plucker’s medical records before it could pay her claim. United Fire

also did not dispute that Plucker was injured. Rather, United Fire did not pay

Plucker’s medical bills because it did not have copies of Plucker’s medical

records. Thus, Plucker’s claim is distinguishable from Lewis.




1 Lewis v. State Dep’t of Transp., 667 N.W.2d 283 (S.D. 2003); Biegler v. Am.
Family Mut. Ins. Co., 621 N.W.2d 592 (S.D. 2001); Sawyer v. Farm Bureau Mut.
Ins. Co., 619 N.W.2d 644 (S.D. 2000); Isaac v. State Farm Mut. Auto. Ins. Co.,
522 N.W.2d 752 (S.D. 1994); Eldridge v. Nw. G. F. Mut. Ins. Co., 221 N.W.2d 16
(S.D. 1974).
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      Plucker also argues that her claim is similar to the plaintiff’s claim in

Biegler v. American Family Mutual Insurance Co., 621 N.W.2d 592 (S.D. 2001),

where the defendant insurance company “did everything it could to put off, and

thereby deceive, [the insured] even though it knew that it had an obligation to

defend [the insured].” Id. at 607. In Biegler, the insurance company denied it

had a duty to provide a defense for its insured even though the insurance

company knew the policy stated otherwise. Id. Here, United Fire did not make a

similar denial. United Fire did not tell Plucker her treatments with Dr. Lanpher

would not be covered under her policy. Instead, United Fire requested Plucker’s

medical records to process her claim. United Fire’s conduct is not equivalent to

that of the defendant in Biegler.

      Plucker also cites Sawyer v. Farm Bureau Mutual Insurance Co., 619

N.W.2d 644 (S.D. 2000). In Sawyer, agents of the defendant insurance

company discussed how to undervalue plaintiff’s losses, how to make plaintiff

appear fraudulent, whether they could use an allegation that plaintiff’s wife

was committing adultery, and their need to minimize a paper trail. Id. at 652.

Plucker produced no evidence at trial that United Fire engaged in similar

egregious behavior.

      Next, Plucker argues Isaac v. State Farm Mutual Automobile Insurance

Co., 522 N.W.2d 752 (S.D. 1994), is a sufficient basis for awarding her attorney

fees. In Isaac, the plaintiff was involved in a car accident with another driver.

Id. at 754. Defendant insurance company denied plaintiff’s claim for benefits

and insisted that the other driver was responsible for plaintiff’s injuries, even

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though plaintiff had uninsured motorist coverage. Id. The South Dakota

Supreme Court summarized the case by saying that “State Farm delayed in

investigation, settlement and evaluation for years.” Id. at 763. State Farm also

refused to pay amounts clearly owed under the policy unless the plaintiff

dismissed her bad faith claim against the defendant. Id. Here, none of United

Fire’s actions reach the same level of seriousness as the actions taken by State

Farm. Once United Fire received Plucker’s medical bills, United Fire started

processing Plucker’s claim. Although Plucker argued at trial that United Fire

told her the claim could not be subrogated to collect from the semi-truck

driver, United Fire did not attempt to deny coverage for this reason. United

Fire’s actions are not similar to State Farm’s.

      Finally, Plucker relies on Eldridge v. Northwest G. F. Mutual Insurance

Co., 221 N.W.2d 16 (S.D. 1974). In Eldridge, plaintiff reported damage to his

home. Id. at 17-20. Defendant insurance company had someone assess the

damage to the home, but before repairs were completed, the home sustained

further damage. Id. Defendant refused to conduct a second assessment. Id. The

South Dakota Supreme Court upheld an award of attorney’s fees because

“there was no adequate, good faith investigation of plaintiff’s claim of additional

storm damage to his home.” Id. at 22. Here, again, United Fire did not dispute

that Plucker sought treatment for her injuries stemming from the accident.

United Fire did not attempt to reduce or limit the medical bills Plucker

submitted. Rather, United Fire simply tried to gain access to Plucker’s medical

records so it could process her claim.

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                                 CONCLUSION

      Plucker fails to show that United Fire acted vexatiously or without

reasonable cause. United Fire attempted to process Plucker’s claim by

obtaining Plucker’s medical records, but this process became more difficult

when Plucker refused to sign an unaltered medical release. Although United

Fire might have been able to handle the situation differently, its refusal to pay

Plucker’s medical bills was based on its need to access Plucker’s medical

records, not a desire to delay, limit, or ultimately deny Plucker’s claim. Because

United Fire did not refuse to pay Plucker’s claim vexatiously or without

reasonable cause, it is

      ORDERED that plaintiff’s motion for attorney’s fees and costs (Docket

133) is denied.

      DATED this 28th day of September, 2016.

                                      BY THE COURT:


                                      /s/ Karen E. Schreier
                                      KAREN E. SCHREIER
                                      UNITED STATES DISTRICT JUDGE




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